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        Honda Motor Co., Ltd., American Honda Motor Co., Inc. and
   11   Honda Development and Manufacturing of America, LLC
   12
                                   UNITED STATES DISTRICT COURT
   13
                                  CENTRAL DISTRICT OF CALIFORNIA
   14
   15    In re: ZF-TRW Airbag Control Units           MDL No. 2905
         Products Liability Litigation
   16                                                 Case No. 2:19-ml-02905-JAK-FFM
         ALL CASES
   17                                                 Judge: John A. Kronstadt

   18                                                 DEFENDANT HONDA MOTOR CO.,
                                                      LTD.’S RESPONSE TO PLAINTIFFS’
   19                                                 MOTION FOR LEAVE TO FILE
                                                      SUPPLEMENTAL EVIDENCE
   20
                                                      Date: January 23, 2023
   21                                                 Time: 8:30 a.m.
   22                                                 Dept.: Courtroom 10B

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                    HONDA MOTOR CO., LTD.’S RESPONSE TO PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                                            SUPPLEMENTAL EVIDENCE

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    1
        I.         INTRODUCTION
    2
                   Defendant Honda Motor Co., Ltd. (“Honda Motor”)1 does not oppose
    3
        Plaintiffs’ request to supplement the record with the discovery Plaintiffs obtained
    4
        from the American Honda Entities. Honda Motor is submitting this response to
    5
        explain why that evidence does not alter the result with respect to Honda Motor’s
    6
        motion to dismiss.
    7
        II.        ARGUMENT
    8
                   A. The proffered evidence leads to the same result: This Court lacks
    9                 personal jurisdiction over Honda Motor.
   10              The Ninth Circuit uses a three-part test to determine whether a court may
   11   exercise specific jurisdiction over a defendant.2 It considers whether “(1) the
   12   defendant has performed some act or consummated some transaction within the
   13   forum or otherwise purposefully availed himself of the privileges of conducting
   14   activities in the forum, (2) the claim arises out of or results from the defendant’s
   15   forum-related activities, and (3) the exercise of jurisdiction is reasonable.” Pebble
   16   Beach Co. v. Caddy, 453 F.3d 1151, 1155 (9th Cir. 2006). If any of these criteria
   17   are missing, the court lacks jurisdiction. Id.
   18              Plaintiffs’ newly proffered evidence does not address, much less undermine,
   19   any of the facts that the Honda Defendants submitted in support of their motion to
   20   dismiss, including that Honda Motor does not advertise, market, design, develop, or
   21   sell vehicles in the United States. See Doc. 527 (Honda Defendants’ Motion to
   22   Dismiss) at 6. Nor does the evidence rebut the facts that Honda Motor has no
   23   offices in the United States, owns no manufacturing plants or other property in the
   24   United States, pays no taxes in the United States, maintains no bank accounts in the
   25   1
          By submitting this and other pleadings, Honda Motor does not waive its
   26   objections to personal jurisdiction.
        2
   27     Consistent with their prior briefing, Plaintiffs do not assert that the Court may
        exercise general jurisdiction over Honda Motor.
   28                                               1
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    1   United States, and has no agent for service of process in the United States. Id. at 6-
    2   7. And crucially, nothing in the cited materials changes the fact that none of
    3   Plaintiffs’ vehicles were manufactured by Honda Motor. Id. at 6.
    4              Despite those shortcomings, Plaintiffs claim that their proffered evidence
    5   “confirms that [Honda Motor] purposefully directed relevant conduct toward the
    6   U.S. by controlling the design and manufacture of the Honda Class Vehicles
    7   destined for sale” in the United States. Mot. at 4. But this Court rejected this
    8   argument after Plaintiffs filed their initial consolidated complaint, which alleged
    9   that Honda Motor “has the ultimate responsibility for the design and specifications
   10   for all Honda vehicles with the [allegedly] defective ZF TRW ACUs.” ECF 120 ¶
   11   247. This evidence also does nothing to remedy Plaintiffs’ failure to tie any of the
   12   named Plaintiffs’ vehicles to Honda Motor’s allegedly purposeful availment of the
   13   “privileges of conducting activities” within the United States. Nor does it tie Honda
   14   Motor’s alleged actions to the factual foundation to Plaintiffs’ claims, namely
   15   marketing and warranty activity that was allegedly conducted by other Honda
   16   entities—not Honda Motor.
   17              Moreover, because no class has been certified, Plaintiffs must connect Honda
   18   Motor’s alleged actions to their claims relating to their own vehicles. See Szewczyk
   19   v. United Parcel Serv., Inc., No. 19-cv-1109, 2019 WL 5423036, at *8 (E.D. Pa.
   20   Oct. 22, 2019) (“when a single named plaintiff seeks to bring a claim on behalf of a
   21   class or collective, that named plaintiff must establish that the court has personal
   22   jurisdiction over the defendant with respect to his or her claim”). But again, none of
   23   those vehicles was made by Honda Motor. ECF 527-1 ¶ 3. Plaintiffs’ generalized
   24   claims about “relevant” models of vehicles, see Mot. at 3, does not suffice where it
   25   is the Honda Plaintiffs’ vehicles, not the vehicles of hypothetical class members,
   26   that matter for jurisdictional purposes.
   27              Plaintiffs’ supplemental evidence also falls short of supporting their claim
   28                                                 2
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    1   that Honda Motor “controlled” the manufacture of Honda vehicles in the United
    2   States. Mot. at 4. As to vehicles developed and built in the United States (i.e., the
    3   Honda Ridgeline, Acura TL, and Acura TLX), final decisions about the design and
    4   build of the vehicles were made by Honda Development, not Honda Motor. See PX
    5   1 at 22 (indicating that while HGT “will create initial functional specifications for
    6   parts,” HDMA [i.e., Honda Development] will continue to develop those
    7   specifications “in vehicles that HDMA is developing”); Ex. 1 (Scally deposition) at
    8   45:3-18 (“Q. As applied to airbag control units, was that ever HDMA [i.e.,
    9   American Honda] or was it always HGT [i.e., Honda Japan] . . . . A. Those
   10   developed in HDMA will do the final sign-off for approval. Those developed in
   11   Japan, Honda Motor will do the final approval.”). Even Honda Motor’s approval or
   12   providing input on certain decisions is insufficient to establish personal jurisdiction
   13   because those actions are part of a normal parent-subsidiary relationship. See Nestle
   14   USA, Inc. v. Crest Foods, Inc., No. 16-cv-7519, 2017 WL 3267665, at *8 (C.D.
   15   Cal. July 28, 2017) (“They also provide some support for the contention that
   16   individuals at Nestle USA reported to the Swiss Defendants and may have sought
   17   their approval prior to taking certain business actions. Dalal also declares that Caira
   18   traveled to California at an unspecified time, and addressed certain unidentified
   19   matters related to the allegations during this visit. This does not support an outcome
   20   different from that addressed above as to parent-subsidiary relationships.”).
   21              As to vehicles developed in Japan but built in the United States, the proffered
   22   materials indicate only that Honda Motor developed the vehicles, not that it
   23   marketed, distributed, or sold them. Honda Motor’s mere knowledge that vehicles it
   24   developed would be sold downstream is insufficient to establish personal
   25   jurisdiction. See Williams v. Yamaha Motor Co., 851 F.3d 1015, 1023 n.3 (9th Cir.
   26   2017) (declining to find jurisdiction based on defendant’s knowledge “that its
   27   products would be sold and used in California” even though the defendant would
   28                                                 3
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    1   have “benefited economically from those sales”).
    2              Finally, Plaintiffs’ reliance on manufacturing instructions, specifications
    3   related to unknown parts, and drafts of owner’s manuals unattached to the airbag
    4   control units, see Mot. at 2-4, are irrelevant because those matters have nothing to
    5   do with the claims in this case. As such, even if those allegations involved an act or
    6   transaction within a relevant forum, they fail the second part of the Ninth Circuit’s
    7   three-part test: that the claim arise out of Honda Motor’s “forum-related activities.”
    8   Pebble Beach, 453 F.3d at 1155.
    9              B. Even if the Court could exercise personal jurisdiction over Honda
   10                 Motor, Plaintiffs’ claims would still fail.
   11              Plaintiffs’ claims against Honda Motor should be dismissed even if the Court
   12   concludes that it may exercise personal jurisdiction over it. While Plaintiffs bring a
   13   variety of claims against the Honda Defendants, the crux of the case is their belief
   14   that the Honda Defendants sold vehicles to them without disclosing the alleged
   15   defect. But again, Honda Motor did not sell or market the relevant vehicles in the
   16   United States. As such, even if the Court were to exercise jurisdiction over Honda
   17   Motor, Plaintiffs have not plausibly alleged that Honda Motor can be held liable.
   18   The same is true with respect to Plaintiffs’ warranty claims, as American Honda,
   19   not Honda Motor, is the warrantor of the relevant warranties.
   20
   21   Dated: January 18, 2023                     Respectfully submitted,

   22                                               /s/ Eric S. Mattson
                                                    Eric S. Mattson
   23
   24                                               Counsel for Defendants Honda Motor
                                                    Co., Ltd., American Honda Motor Co.,
   25
                                                    Inc., and Honda Development and
   26                                               Manufacturing of America, LLC
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   28                                                  4
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    1                                 CERTIFICATE OF SERVICE
    2              I certify that on January 18, 2023, a copy of Honda Motor Co., Ltd.’s
    3   Response to Plaintiffs’ Motion for Leave to File Supplemental Evidence was served
    4   electronically through the court’s electronic filing system upon all parties appearing
    5   on the court’s ECF service list.
    6
                                                         /s/ Eric S. Mattson _________
    7                                                    Eric S. Mattson
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